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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JEFFREY HALE, Individually and on Behalf of
All Others Similarly Situated,
Civil Action No. 2:17-cv-02447-JMV-MF

Plaintiff,
DOCUMENT ELECTRONICALLY FILED
vs.
CREDITORS RELIEF, LLC, DECLARATION OF ALAN TUNIT
Defendant.

 

 

I, ALAN TUNIT, of full age, hereby declare as follows:

1. I am a Member and the Chief Marketing Officer of Defendant Creditors Relief,
LLC located in Englewood Cliffs, New Jersey. As such, I am fully familiar with the facts stated
herein. I respectfully submit this Declaration in support of Creditors Relief’s Motion to Deny
Class Certification.

2. Creditors Relief was first founded in 2010, and offers debt relief programs to
struggling businesses across the country. Although Creditors Relief formerly offered its debt
relief programs to individuals as well as businesses, Creditors Relief has not marketed or sold its
programs to individuals since approximately 2013.

3. Creditors Relief identifies client leads in one of three ways: (1) businesses

affirmatively contact Creditors Relief based on advertising, including online advertising; (2)

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businesses are referred to Creditors Relief by third-party vendors hired by Creditors Relief to
identify leads; and (3) businesses possibly in need of Creditors Relief’s programs are identified
by Creditors Relief based on Uniform Commercial Code (“UCC”) filings.

4, Regardless of origin, all client leads are entered into Creditors Relief’s Client
Relations Manager (“CRM”) system. Specifically, the lead’s business name, primary contact,
address, e-mail address, and telephone number are entered into the CRM system.

5. How the client lead was first identified is not included in the CRM system. That
is, Creditors Relief does not know—and cannot determine—if a lead included in the CRM
system first contacted Creditors Relief itself or was identified by a third-party vendor or was
found through UCC filings.

6. Creditors Relief pays particular attention to the client lead’s telephone number.
Creditors Relief does not call cellular telephones. Before a telephone number is entered into
the CRM system, it is screened to be sure that it is not a cellular telephone and is not included
on the federal Do Not Call registry, any state Do Not Call registry, and Creditors Relief’s
internal Do Not Call List. Only telephone numbers that successfully pass through all screens
are entered into the CRM system.

7. Client representatives use a program, Velocify Enterprise, to place all outbound
marketing calls. Velocify Enterprise is a click-to-dial system. That is, all outbound marketing
calls require the client representative to select a business from the CRM system to call and then
affirmatively “click” on that business’s telephone number in order for the number to be dialed.

8. Initial client calls are generally recorded, but they are saved for 30 days only. If
the business rejects Creditors Reliefs services, the representative makes a note in the CRM

system, and the business is not called again. If the business is interested in Creditors Relief’s

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services, a separate welcome call is made to the business. Welcome calls are generally
recorded and usually saved to the client’s file.

9, Creditors Relief does not use the number “(201) 956-6966” to place outbound
marketing calls.

10. At my direction, the CRM system was reviewed. Mr. Jeffrey Hale is nowhere
listed in the system, and to the best of my knowledge, no business associated with Mr. Hale is
listed anywhere in the CRM system.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.

 

Dated: August 5, 2019 eo ALAN TUNIT

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